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     ~AO 245B (CASD)      (Rev. 4114)   ludgment in a Criminal Case
                Sheet 1
                                                                                                                          FILED
                                                  UNITED STATES DISTRICT COl RT                                            SEP 1 8 2014
                                                                                         CI.ERK J.S DISTRICT COUHT
                                                      SOUTHERN DISTRICT OF CALIFORNIl SOUTHERN  DISTfiIC'" OF CALIFORNIA
                                                                                                                 BY                             tJEPUTY
                    UNlTED STATES OF AMERICA                                         JUDGMENT IN A                :KIMI1"IAL \"-j\--Sl(

                                            v.                                       (For Offenses Committed On or After November I, 1987)

                          VYACHESLAV TSOY [27]                                       Case Number: I3CR3479-BTM

                                                                                     VICTOR PIPPINS
                                                                                     Defendant's Attorney
     REGISTRATION NO. 66786112

    o
    THE DEFENDANT:
     181pleaded guilty to count(s)_I_O
                                     ....F_T_H_E_IN_D_IC_T_M_E_NT
                                                               _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                             Nature of Offense                                                                          Number(s)
18 USC 371                                CONSPIRACY TO COMMlT MAIL AND WIRE FRAUD AND MONEY                                                    1
                                           LAUNDERING




        The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)

 181 Count(s) Remaining counts of the Indictment        -----------------------------------
                                                                          is 0 arel8l dismissed on the motion of the United States.
 181 Assessment: $100 to be paid within 6 months of release from custody.

 181 Fine waived                                        o Forfeiture pursuant to order filed ---------------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               AUGUST 29.2014
                                                                              Date of Imposition of Sentence




                                                                              ~~
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                              13CR3479-BTM
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AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                            Judgment - Page _   ....2~ of     5
 DEFENDANT: VYACHESLAV TSOY [27]
 CASE NUMBER: 13CR3479-BTM
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         SIX (6) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section l326(b).                         ~~~.
                                                                                        BARRY T D MOSKOWlTZ
    o The court makes the following recommendations to the Bureau of Prisons:           UNITED STATES DISTRICT JUDGE




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.         on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ----------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                      By ________~~~~~~~~__-----------­
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                     13CR3479-BTM
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AO 2456 (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 Supervised RelellSe
                                                                                                               Judgment . Page      3      of       5

DEFENDANT: VYACHESLA V TSOY [27]                                                                       a
CASE NUMBER: 13CR3479-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ~ontrolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month dunng
the term of supervision, unless otherwise ordered by court.
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000 Pursuant to 18 USC sections 3563(a)(7) and 3583(d).
                                         L                                                                                                           .
        The defendant shall comply with tfie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as dIrected
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check ifapplicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   ))    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                        13CR3479-BTM
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       AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                         Judgment   Page _ _4_ of   _~5_ _

       DEFENDANT: VYACHESLA V TSOY [27]                                                            II
       CASE NUMBER: 13CR3479-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
181 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Make restitution to the IRS in the amount of $86,767.00, to be paid installments of $200 per month.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening bank or credit card accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within                 days.
D Complete              hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.

181 The Defendant shall notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly,
    valued at $1,000 or more including any interest obtained under any other name, or entity, including a trust, partnership, or corporation until
    restitution is paid in full. Additionally, the Court orders Defendant to notify the Collections Unit, United States Attorney's Office, before
    Defendant transfers any interest in property valued at $1,000 or more owned directly or indirectly by Defendant, including any interest held
    or owned under any other name or entity, including trusts, partnerships and/or corporations. Finally. until restitution has been paid,
    Defendant shall notify the Clerk of the Court and the United States Attorney'S Office of any change in Defendant's mailing or residence
    address, no later than thirty (30) days after the change occurs.




                                                                                                                                    13CR3479-BTM
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AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

  DEFENDANT:             VYACHESLAV TSOY [27]                                                Judgment - Page 5 of 5
  CASE NUMBER:           13CR3479-BTM

                                           RESTITUTION


 The defendant shall pay restitution in the amount of $86,767.00            unto the United States of America.
 For the benefit of the Internal Revenue Service through the Clerk of Court




 This sum shall be due immediately.

 And shall be paid as follows:

 In installments of$200 per month, after release, no payments to be made during the defendant's time in custody
 on the sic (6) month sentence, jointly and severally with codefendant's to be identified.




The Court has determined that the defendant    does not     have the ability to pay interest. It is ordered that:
     The interest requirement is waived




                                                                                                     13CR3481-BTM
